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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION

GEORGE AINSWORTH,
an individual,                                               Case No.:

          Plaintiff,
v.

CITIBANK, N.A.,
a national association,

      Defendant.
_______________________________________/

                                          COMPLAINT

          COME NOW, Plaintiff, GEORGE AINSWORTH (hereinafter, “Plaintiff”), by and

through the undersigned counsel, and hereby sues Defendant, CITIBANK, N.A. (hereinafter,

“Defendant”). In support thereof, Plaintiff states:

                                 PRELIMINARY STATEMENT

          1.      This is an action for damages brought by an individual consumer for Defendant’s

violations of the Florida Consumer Collection Practices Act, Chapter 559, Florida Statutes

(hereinafter, the “FCCPA”), the Telephone Consumer Protection Act, 47 United States Code,

Section 227 (hereinafter, the “TCPA”), and for declaratory judgment and injunctive relief in

equity.

          2.      Specifically, this is an action for Defendant’s unlawful attempts to collect a

consumer debt from Plaintiff by placing calls to Plaintiff’s cellular telephone using an automatic

telephone dialing system, a predictive telephone dialing system, or an artificial or pre-recorded

voice, despite Defendant lacking Plaintiff’s consent to make such calls to his cellular telephone.
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                               JURISDICTION, VENUE & PARTIES

       3.      Jurisdiction of the Court arises under 47 United States Code, Section 227(b)(3), 28

United States Code, Section 1337, and supplemental jurisdiction exists for the FCCPA claims

pursuant to 28 United States Code, Section 1367. Declaratory relief is available pursuant to 28

United States Code, Sections 2201 and 2202.

       4.      Defendant is subject to the jurisdiction of this Court as Defendant regularly

transacts business in this District as the events described herein occur in this District.

       5.      Venue in this District is proper because Defendant transacts business in this

District, and the conduct complained of occurred in this District.

       6.      At all material times herein, the conduct of Defendant, complained of below, occurs

in Pinellas County, Florida.

       7.      At all material times herein, Plaintiff is an individual residing in Pinellas County,

Florida.

       8.      At all material times herein, Defendant is a national association regularly engaged

in business in Florida with its principal place of business located at 701 East 60th Street North,

Sioux Falls, South Dakota 57104.

                               FCCPA STATUTORY STRUCTURE

       9.      The FCCPA is a state consumer protection statute, modeled after the Federal Fair

Debt Collection Practices Act, a statute designed to prohibit unfair, deceptive, and abusive

practices in collection of consumer debts as well as to protect against the invasion of individual

privacy. 15 United States Code, Section 1692(a) and (e); Florida Statutes, Sections 559.55 and

559.77(5).




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        10.        The FCCPA imposes civil liability on a creditor that “offers or extends credit

creating a debt or to whom a debt is owed . . .” and prohibits any person from engaging in particular

conduct in connection with collecting consumer debts. Florida Statutes, Section 559.55(5).

        11.        Specifically, the FCCPA prohibits unlawful debt collection “communications” with

consumer debtors, which is defined as “the conveying of information regarding a debt directly or

indirectly to any person through any medium” (emphasis added). Florida Statutes, Section

559.55(2).

        12.        For example, the FCCPA prohibits a person from collecting consumer debt by

communicating with the consumer in a manner that can be expected to harass or abuse the

consumer debtor, and also prohibits a person from claiming, attempting, or threatening to enforce

a consumer debt “when such person knows that the debt is not legitimate” or by asserting a legal

right that does not exist. See Florida Statutes, Sections 559.72(7) and 559.72(9).

                                 TCPA STATUTORY STRUCTURE

        13.        Congress enacted the TCPA in effort to restrict pervasive use of telemarketing and

increasing use of cost-effective telemarketing techniques. Pub L. 102-243, § 2, Dec. 20, 1991, 105

Sta. 2394 (1) and (8).

        14.        Congress found that “[u]nrestricted telemarketing…can be an intrusive invasion of

privacy…” and it intended to prevent automated or pre-recorded telephone calls as “the only

effective means of protecting telephone consumers from this nuisance and privacy invasion.” Id.

at (5) and (12).

        15.        Under the TCPA, any person who initiates calls to any number assigned to a cellular

telephone service using any automated telephone dialing system or artificial or prerecorded voice

without the recipient’s prior express consent is liable to the recipient for actual monetary loss, or



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up to $500.00 in damages for each violation of the TCPA, whichever is greater. 47 U.S.C. §

227(b)(3)(B).

       16.      Additionally, under the TCPA, the court may increase the damage award up to three

(3) times, up to $1,500.00, for each willful or knowing violation of the TCPA. Id at § 227(b)(3)(C).

                                  GENERAL ALLEGATIONS

       17.      At all material times herein, Defendant is a “creditor” as defined by Florida

Statutes, Section 559.55(5).

       18.      At all material times herein, Plaintiff is a “debtor” or “consumer” as defined by

Florida Statutes, Section 559.55(8).

       19.      At all material times herein, Defendant attempts to collect a debt, specifically a

balance on a Citi Card consumer credit card (hereinafter, the “Debt”).

       20.      At all material times herein, the Debt is a consumer debt, a result of a transaction

for goods or services, incurred primarily for personal, household, or family use.

       21.      At all material times herein, Defendant is a “person” subject to Florida Statutes,

Section 559.72. See Fla. Stat. § 559.55(5); Schauer v. General Motors Acceptance Corp., 819 So.

2d 809 (Fla. 4th DCA 2002).

       22.      At all material times herein, Defendant’s conduct, with regard to the Debt

complained of below, qualifies as “communication” as defined by Florida Statutes, Section

559.55(2).

       23.      At all material times herein, Defendant acts itself or through its agents, employees,

officers, members, directors, successors, assigns, principals, trustees, sureties, subrogees,

representatives, third-party vendors, and insurers.

       24.      All necessary conditions precedent to the filing of this action occurred or Defendant

waived the same.

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                                 FACTUAL ALLEGATIONS

       25.     Defendant made telephone calls, as more specifically alleged below, to Plaintiff’s

cellular telephone number 727.XXX.1240 (hereinafter, “Plaintiff’s Cellular Telephone”) using an

automatic telephone dialing system (hereinafter, “ATDS”), a predictive telephone dialing system

(hereinafter, “PTDS”), or an artificial or pre-recorded voice (hereinafter, “APV”).

       26.     Plaintiff owns, regularly uses, and possesses Plaintiff’s Cellular Telephone.

       27.     At no time herein did Defendant possess Plaintiff’s prior express consent to call

Plaintiff’s Cellular Telephone using an ATDS, a PTDS, or an APV.

       28.     Further, if Defendant contends it possessed such consent, Plaintiff revoked any

consent the moment that Plaintiff orally instructed Defendant to cease calling Plaintiff’s Cellular

Telephone, in or about November 2015.

       29.     Additionally, if Defendant contends it made the below-referenced phone calls for

“informational purposes only,” Defendant nevertheless lacked the required prior express written

consent necessary to make such informational calls to Plaintiff’s Cellular Telephones using an

ATDS, a PTDS, or an APV.

       30.     Defendant directly made calls to Plaintiff’s Cellular Telephone on or about the

following dates and times:

                      1)      09/23/2015     13:33:48       UTC
                      2)      09/23/2015     18:04:37       UTC
                      3)      09/23/2015     18:04:38       UTC
                      4)      09/23/2015     19:24:58       UTC
                      5)      09/23/2015     19:24:59       UTC
                      6)      09/24/2015     00:49:25       UTC
                      7)      09/24/2015     12:50:49       UTC
                      8)      09/24/2015     12:50:50       UTC
                      9)      09/24/2015     18:59:25       UTC
                      10)     09/24/2015     18:59:26       UTC
                      11)     09/25/2015     12:40:36       UTC
                      12)     09/29/2015     12:41:10       UTC
                      13)     09/29/2015     12:41:11       UTC

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                14)   09/29/2015   17:59:00   UTC
                15)   09/29/2015   17:59:01   UTC
                16)   09/30/2015   12:29:15   UTC
                17)   09/30/2015   12:29:16   UTC
                18)   10/01/2015   00:47:31   UTC
                19)   10/01/2015   00:47:32   UTC
                20)   10/01/2015   12:48:16   UTC
                21)   10/01/2015   12:48:17   UTC
                22)   10/01/2015   17:48:44   UTC
                23)   10/02/2015   12:20:50   UTC
                24)   10/02/2015   12:20:51   UTC
                25)   10/02/2015   16:59:02   UTC
                26)   10/02/2015   16:59:03   UTC
                27)   10/02/2015   21:30:44   UTC
                28)   10/02/2015   21:30:45   UTC
                29)   10/03/2015   12:21:40   UTC
                30)   10/03/2015   12:21:41   UTC
                31)   10/03/2015   14:53:41   UTC
                32)   10/03/2015   14:53:42   UTC
                33)   10/03/2015   17:57:32   UTC
                34)   10/03/2015   17:57:33   UTC
                35)   10/03/2015   19:12:47   UTC
                36)   10/03/2015   19:12:48   UTC
                37)   10/04/2015   13:45:30   UTC
                38)   10/04/2015   13:45:31   UTC
                39)   10/04/2015   18:22:39   UTC
                40)   10/04/2015   18:22:40   UTC
                41)   10/04/2015   19:32:26   UTC
                42)   10/04/2015   19:32:27   UTC
                43)   10/05/2015   12:02:23   UTC
                44)   10/05/2015   12:02:24   UTC
                45)   11/16/2015   13:37:28   UTC
                46)   11/16/2015   13:37:29   UTC
                47)   11/16/2015   18:19:42   UTC
                48)   11/16/2015   18:19:43   UTC
                49)   11/17/2015   13:28:27   UTC
                50)   11/17/2015   13:41:47   UTC
                51)   11/17/2015   21:29:37   UTC
                52)   11/17/2015   21:29:38   UTC
                53)   11/18/2015   00:41:18   UTC
                54)   11/18/2015   00:41:18   UTC
                55)   11/18/2015   13:16:59   UTC
                56)   11/18/2015   13:17:00   UTC
                57)   11/18/2015   13:31:34   UTC
                58)   11/18/2015   13:31:35   UTC
                59)   11/18/2015   20:57:12   UTC
                60)   11/18/2015   20:57:12   UTC

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                61)    11/18/2015   21:48:43   UTC
                62)    11/18/2015   21:48:43   UTC
                63)    11/19/2015   13:01:29   UTC
                64)    11/19/2015   13:01:30   UTC
                65)    11/19/2015   13:05:13   UTC
                66)    11/19/2015   13:05:14   UTC
                67)    11/19/2015   17:38:45   UTC
                68)    11/19/2015   17:38:45   UTC
                69)    11/19/2015   21:50:34   UTC
                70)    11/19/2015   21:50:36   UTC
                71)    11/19/2015   22:39:37   UTC
                72)    11/19/2015   22:39:39   UTC
                73)    11/20/2015   13:11:45   UTC
                74)    11/20/2015   13:12:11   UTC
                75)    11/20/2015   13:12:12   UTC
                76)    11/20/2015   17:58:20   UTC
                77)    11/20/2015   17:58:21   UTC
                78)    11/21/2015   00:04:33   UTC
                79)    11/21/2015   00:04:34   UTC
                80)    11/21/2015   13:11:47   UTC
                81)    11/21/2015   13:11:48   UTC
                82)    11/21/2015   13:22:44   UTC
                83)    11/21/2015   13:22:45   UTC
                84)    11/21/2015   18:58:40   UTC
                85)    11/21/2015   18:58:40   UTC
                86)    11/22/2015   14:31:56   UTC
                87)    11/22/2015   14:31:57   UTC
                88)    11/22/2015   15:39:01   UTC
                89)    11/22/2015   15:39:02   UTC
                90)    11/22/2015   21:16:47   UTC
                91)    11/22/2015   21:16:48   UTC
                92)    11/22/2015   21:50:46   UTC
                93)    11/22/2015   21:50:47   UTC
                94)    11/23/2015   00:33:36   UTC
                95)    11/23/2015   00:33:36   UTC
                96)    11/23/2015   13:21:47   UTC
                97)    11/23/2015   13:21:48   UTC
                98)    11/23/2015   13:59:18   UTC
                99)    11/23/2015   20:50:43   UTC
                100)   11/23/2015   20:50:44   UTC
                101)   11/23/2015   21:23:55   UTC
                102)   11/23/2015   21:23:56   UTC
                103)   11/24/2015   13:18:19   UTC
                104)   11/24/2015   13:18:21   UTC
                105)   11/24/2015   13:19:58   UTC
                106)   11/24/2015   17:53:51   UTC
                107)   11/24/2015   17:53:52   UTC

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                108)   11/24/2015   22:52:43   UTC
                109)   11/24/2015   22:52:45   UTC
                110)   11/29/2015   18:05:57   UTC
                111)   11/29/2015   18:05:59   UTC
                112)   01/15/2016   13:46:00   UTC
                113)   01/15/2016   13:46:01   UTC
                114)   01/15/2016   18:53:06   UTC
                115)   01/16/2016   01:01:47   UTC
                116)   01/16/2016   01:01:48   UTC
                117)   01/16/2016   13:46:19   UTC
                118)   01/16/2016   13:46:20   UTC
                119)   01/16/2016   21:33:13   UTC
                120)   01/16/2016   21:33:14   UTC
                121)   01/16/2016   22:34:49   UTC
                122)   01/16/2016   22:34:50   UTC
                123)   01/16/2016   23:43:03   UTC
                124)   01/16/2016   23:43:04   UTC
                125)   01/17/2016   19:53:32   UTC
                126)   01/17/2016   19:53:33   UTC
                127)   01/17/2016   22:23:04   UTC
                128)   01/17/2016   22:23:05   UTC
                129)   01/17/2016   22:37:38   UTC
                130)   01/17/2016   22:37:39   UTC
                131)   01/18/2016   00:44:58   UTC
                132)   01/18/2016   00:44:59   UTC
                133)   01/18/2016   13:12:38   UTC
                134)   01/18/2016   13:12:39   UTC
                135)   01/18/2016   18:03:27   UTC
                136)   01/18/2016   18:03:28   UTC
                137)   01/18/2016   21:57:52   UTC
                138)   01/18/2016   21:57:53   UTC
                139)   01/18/2016   22:42:22   UTC
                140)   01/18/2016   22:42:23   UTC
                141)   01/19/2016   13:22:14   UTC
                142)   01/19/2016   13:22:15   UTC
                143)   01/19/2016   17:53:55   UTC
                144)   01/19/2016   17:53:56   UTC
                145)   01/19/2016   21:24:42   UTC
                146)   01/19/2016   21:24:43   UTC
                147)   01/19/2016   22:38:36   UTC
                148)   01/19/2016   22:38:37   UTC
                149)   01/20/2016   13:42:28   UTC
                150)   01/20/2016   13:42:29   UTC
                151)   01/20/2016   20:47:41   UTC
                152)   01/20/2016   20:47:42   UTC
                153)   01/20/2016   22:21:20   UTC
                154)   01/20/2016   22:21:21   UTC

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                155)   01/21/2016   01:49:46   UTC
                156)   01/21/2016   01:49:47   UTC
                157)   01/21/2016   13:44:31   UTC
                158)   01/21/2016   13:44:32   UTC
                159)   01/21/2016   19:57:45   UTC
                160)   01/21/2016   19:57:46   UTC
                161)   01/21/2016   20:58:33   UTC
                162)   01/21/2016   20:58:34   UTC
                163)   01/22/2016   00:29:23   UTC
                164)   01/22/2016   00:29:24   UTC
                165)   01/22/2016   13:38:14   UTC
                166)   01/22/2016   13:38:15   UTC
                167)   01/22/2016   21:01:11   UTC
                168)   01/22/2016   21:01:12   UTC
                169)   01/23/2016   00:56:54   UTC
                170)   01/23/2016   00:56:55   UTC
                171)   01/23/2016   13:29:06   UTC
                172)   01/23/2016   13:29:07   UTC
                173)   01/23/2016   15:47:50   UTC
                174)   01/23/2016   15:47:51   UTC
                175)   01/23/2016   20:37:54   UTC
                176)   01/23/2016   20:37:55   UTC
                177)   01/24/2016   00:36:33   UTC
                178)   01/24/2016   00:36:34   UTC
                179)   01/24/2016   14:58:20   UTC
                180)   01/24/2016   14:58:21   UTC
                181)   01/24/2016   17:49:22   UTC
                182)   01/24/2016   17:49:23   UTC
                183)   01/24/2016   19:54:05   UTC
                184)   01/24/2016   19:54:06   UTC
                185)   01/24/2016   21:08:32   UTC
                186)   01/24/2016   21:08:33   UTC
                187)   01/25/2016   13:15:15   UTC
                188)   01/25/2016   13:15:16   UTC
                189)   02/08/2016   13:37:24   UTC
                190)   02/08/2016   13:37:25   UTC
                191)   02/08/2016   18:45:49   UTC
                192)   02/08/2016   18:45:50   UTC
                193)   02/08/2016   21:24:40   UTC
                194)   02/08/2016   21:24:41   UTC
                195)   02/09/2016   01:26:21   UTC
                196)   02/09/2016   01:26:22   UTC
                197)   02/09/2016   13:30:15   UTC
                198)   02/09/2016   13:30:16   UTC
                199)   02/09/2016   18:18:04   UTC
                200)   02/09/2016   18:18:05   UTC
                201)   02/09/2016   20:07:23   UTC

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                 202)   02/09/2016   20:07:24   UTC
                 203)   02/09/2016   23:03:45   UTC
                 204)   02/09/2016   23:03:46   UTC
                 205)   02/10/2016   18:15:12   UTC
                 206)   02/10/2016   18:15:13   UTC
                 207)   02/10/2016   20:49:44   UTC
                 208)   02/10/2016   20:49:45   UTC
                 209)   02/10/2016   22:46:49   UTC
                 210)   02/10/2016   22:46:50   UTC
                 211)   03/16/2016   00:09:00   UTC
                 212)   03/16/2016   00:09:02   UTC
                 213)   03/16/2016   12:59:10   UTC
                 214)   03/16/2016   12:59:12   UTC
                 215)   03/16/2016   17:57:45   UTC
                 216)   03/16/2016   17:57:47   UTC
                 217)   03/16/2016   23:35:12   UTC
                 218)   03/16/2016   23:35:13   UTC
                 219)   03/17/2016   12:18:25   UTC
                 220)   03/17/2016   12:18:27   UTC
                 221)   03/17/2016   17:06:32   UTC
                 222)   03/17/2016   17:06:34   UTC
                 223)   03/17/2016   21:38:07   UTC
                 224)   03/17/2016   21:38:09   UTC
                 225)   03/18/2016   12:14:16   UTC
                 226)   03/18/2016   12:14:18   UTC
                 227)   03/18/2016   16:45:49   UTC
                 228)   03/18/2016   16:45:51   UTC
                 229)   03/18/2016   21:45:04   UTC
                 230)   03/18/2016   21:45:05   UTC
                 231)   03/19/2016   12:23:38   UTC
                 232)   03/19/2016   12:23:40   UTC
                 233)   03/19/2016   14:24:53   UTC
                 234)   03/19/2016   14:24:54   UTC
                 235)   03/19/2016   16:57:25   UTC
                 236)   03/19/2016   16:57:26   UTC
                 237)   03/20/2016   14:03:07   UTC
                 238)   03/20/2016   14:03:09   UTC
                 239)   03/21/2016   12:16:00   UTC
                 240)   03/21/2016   12:16:02   UTC
                 241)   04/07/2016   13:32:16   UTC
                 242)   04/07/2016   13:32:16   UTC
                 243)   04/07/2016   17:09:30   UTC
                 244)   04/07/2016   17:09:30   UTC
                 245)   04/07/2016   20:11:34   UTC
                 246)   04/07/2016   20:11:36   UTC
                 247)   04/07/2016   23:13:47   UTC
                 248)   04/07/2016   23:13:47   UTC

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                 249)   04/08/2016   13:21:50   UTC
                 250)   04/08/2016   13:21:50   UTC
                 251)   04/08/2016   16:27:06   UTC
                 252)   04/08/2016   16:27:06   UTC
                 253)   04/08/2016   18:11:15   UTC
                 254)   04/08/2016   18:11:15   UTC
                 255)   04/08/2016   23:06:07   UTC
                 256)   04/08/2016   23:06:08   UTC
                 257)   04/09/2016   17:48:21   UTC
                 258)   04/09/2016   17:48:21   UTC
                 259)   04/09/2016   18:55:46   UTC
                 260)   04/09/2016   18:55:47   UTC
                 261)   04/09/2016   20:05:47   UTC
                 262)   04/09/2016   20:05:48   UTC
                 263)   04/09/2016   22:08:25   UTC
                 264)   04/09/2016   22:08:26   UTC
                 265)   04/10/2016   15:52:05   UTC
                 266)   04/10/2016   15:52:06   UTC
                 267)   04/10/2016   19:01:46   UTC
                 268)   04/10/2016   19:01:48   UTC
                 269)   04/10/2016   19:15:43   UTC
                 270)   04/10/2016   19:15:44   UTC
                 271)   04/10/2016   21:02:37   UTC
                 272)   04/10/2016   21:02:38   UTC
                 273)   04/10/2016   23:03:27   UTC
                 274)   04/10/2016   23:03:27   UTC
                 275)   04/11/2016   13:50:12   UTC
                 276)   04/11/2016   13:50:12   UTC
                 277)   04/11/2016   16:52:03   UTC
                 278)   04/11/2016   16:52:04   UTC
                 279)   04/11/2016   18:23:37   UTC
                 280)   04/11/2016   18:23:38   UTC
                 281)   04/11/2016   19:53:26   UTC
                 282)   04/11/2016   19:53:27   UTC
                 283)   04/11/2016   23:32:07   UTC
                 284)   04/11/2016   23:32:08   UTC
                 285)   04/12/2016   13:44:07   UTC
                 286)   04/12/2016   13:44:07   UTC
                 287)   04/12/2016   16:48:34   UTC
                 288)   04/12/2016   16:48:34   UTC
                 289)   04/12/2016   19:14:15   UTC
                 290)   04/12/2016   19:14:16   UTC
                 291)   04/12/2016   21:35:07   UTC
                 292)   04/12/2016   21:35:08   UTC
                 293)   04/13/2016   00:36:36   UTC
                 294)   04/13/2016   00:36:37   UTC
                 295)   04/13/2016   13:56:12   UTC

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                 296)   04/13/2016   13:56:12   UTC
                 297)   05/16/2016   16:31:57   UTC
                 298)   05/16/2016   19:49:24   UTC
                 299)   05/16/2016   22:52:31   UTC
                 300)   05/17/2016   13:00:44   UTC
                 301)   05/17/2016   16:09:41   UTC
                 302)   05/17/2016   19:20:04   UTC
                 303)   05/17/2016   22:20:34   UTC
                 304)   05/18/2016   13:01:36   UTC
                 305)   05/18/2016   16:21:38   UTC
                 306)   05/18/2016   16:21:39   UTC
                 307)   05/18/2016   19:29:35   UTC
                 308)   05/18/2016   19:29:36   UTC
                 309)   05/18/2016   23:02:16   UTC
                 310)   05/18/2016   23:02:17   UTC
                 311)   05/19/2016   14:42:53   UTC
                 312)   05/19/2016   14:42:54   UTC
                 313)   05/19/2016   17:43:42   UTC
                 314)   05/19/2016   17:43:43   UTC
                 315)   05/19/2016   23:51:47   UTC
                 316)   05/19/2016   23:51:48   UTC
                 317)   05/20/2016   13:29:09   UTC
                 318)   05/20/2016   13:29:10   UTC
                 319)   05/20/2016   16:50:49   UTC
                 320)   05/20/2016   16:50:50   UTC
                 321)   05/20/2016   19:52:15   UTC
                 322)   05/20/2016   19:52:16   UTC
                 323)   05/20/2016   23:19:01   UTC
                 324)   05/20/2016   23:19:02   UTC
                 325)   05/21/2016   15:46:03   UTC
                 326)   05/21/2016   17:53:25   UTC
                 327)   05/21/2016   17:53:26   UTC
                 328)   05/21/2016   19:55:13   UTC
                 329)   05/21/2016   19:55:14   UTC
                 330)   05/21/2016   23:38:51   UTC
                 331)   05/21/2016   23:38:52   UTC
                 332)   05/22/2016   14:15:51   UTC
                 333)   05/22/2016   14:15:52   UTC
                 334)   05/22/2016   16:17:13   UTC
                 335)   05/22/2016   16:17:14   UTC
                 336)   05/22/2016   18:24:45   UTC
                 337)   05/22/2016   18:24:46   UTC
                 338)   05/22/2016   20:31:35   UTC
                 339)   05/22/2016   20:31:36   UTC
                 340)   05/23/2016   13:25:03   UTC
                 341)   05/23/2016   13:25:04   UTC
                 342)   05/23/2016   17:33:28   UTC

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                 343)   05/23/2016   17:33:29   UTC
                 344)   05/23/2016   20:34:45   UTC
                 345)   05/23/2016   20:34:46   UTC
                 346)   05/23/2016   23:35:54   UTC
                 347)   05/23/2016   23:35:55   UTC
                 348)   05/24/2016   13:29:03   UTC
                 349)   05/24/2016   13:29:04   UTC
                 350)   05/24/2016   16:48:21   UTC
                 351)   05/24/2016   16:48:22   UTC
                 352)   05/24/2016   19:49:47   UTC
                 353)   05/24/2016   19:49:48   UTC
                 354)   05/24/2016   23:06:20   UTC
                 355)   05/24/2016   23:06:21   UTC
                 356)   05/25/2016   14:47:52   UTC
                 357)   05/25/2016   14:47:53   UTC
                 358)   05/25/2016   17:59:07   UTC
                 359)   05/25/2016   17:59:08   UTC
                 360)   05/25/2016   21:00:21   UTC
                 361)   05/25/2016   21:00:22   UTC
                 362)   05/26/2016   00:01:07   UTC
                 363)   05/26/2016   00:01:08   UTC
                 364)   05/26/2016   14:01:31   UTC
                 365)   05/26/2016   14:01:32   UTC
                 366)   05/26/2016   17:12:04   UTC
                 367)   05/26/2016   17:12:05   UTC
                 368)   05/26/2016   20:13:19   UTC
                 369)   05/26/2016   20:13:20   UTC
                 370)   05/26/2016   23:14:08   UTC
                 371)   05/26/2016   23:14:09   UTC
                 372)   05/27/2016   13:02:54   UTC
                 373)   05/27/2016   13:02:55   UTC
                 374)   05/27/2016   16:07:56   UTC
                 375)   05/27/2016   16:07:57   UTC
                 376)   05/27/2016   19:09:31   UTC
                 377)   05/27/2016   19:09:32   UTC
                 378)   05/27/2016   22:10:18   UTC
                 379)   05/27/2016   22:10:19   UTC
                 380)   05/28/2016   14:00:50   UTC
                 381)   05/28/2016   14:00:51   UTC
                 382)   05/28/2016   16:02:09   UTC
                 383)   05/28/2016   16:02:10   UTC
                 384)   05/28/2016   20:36:27   UTC
                 385)   05/28/2016   20:36:28   UTC
                 386)   05/29/2016   15:23:52   UTC
                 387)   05/29/2016   15:23:53   UTC
                 388)   05/29/2016   18:07:26   UTC
                 389)   05/29/2016   18:07:27   UTC

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                 390)   05/29/2016   20:08:22   UTC
                 391)   05/29/2016   20:08:23   UTC
                 392)   05/29/2016   22:09:45   UTC
                 393)   05/29/2016   22:09:46   UTC
                 394)   05/30/2016   13:16:59   UTC
                 395)   05/30/2016   13:17:00   UTC
                 396)   05/30/2016   16:17:49   UTC
                 397)   05/30/2016   16:17:50   UTC
                 398)   05/30/2016   19:19:17   UTC
                 399)   05/30/2016   19:19:18   UTC
                 400)   05/31/2016   13:37:05   UTC
                 401)   05/31/2016   13:37:06   UTC
                 402)   05/31/2016   17:29:41   UTC
                 403)   05/31/2016   17:29:42   UTC
                 404)   05/31/2016   20:31:17   UTC
                 405)   05/31/2016   20:31:18   UTC
                 406)   05/31/2016   23:33:25   UTC
                 407)   05/31/2016   23:33:26   UTC
                 408)   06/01/2016   14:53:31   UTC
                 409)   06/01/2016   14:53:32   UTC
                 410)   06/01/2016   17:55:05   UTC
                 411)   06/01/2016   17:55:06   UTC
                 412)   06/01/2016   20:56:34   UTC
                 413)   06/01/2016   20:56:35   UTC
                 414)   06/01/2016   23:57:27   UTC
                 415)   06/01/2016   23:57:28   UTC
                 416)   06/02/2016   13:02:29   UTC
                 417)   06/02/2016   13:02:30   UTC
                 418)   06/02/2016   16:43:29   UTC
                 419)   06/02/2016   16:43:30   UTC
                 420)   06/02/2016   19:44:56   UTC
                 421)   06/02/2016   19:44:57   UTC
                 422)   06/02/2016   22:45:47   UTC
                 423)   06/02/2016   22:45:48   UTC
                 424)   06/03/2016   13:48:47   UTC
                 425)   06/03/2016   16:49:58   UTC
                 426)   06/03/2016   16:49:59   UTC
                 427)   06/03/2016   19:51:14   UTC
                 428)   06/03/2016   19:51:15   UTC
                 429)   06/03/2016   22:52:31   UTC
                 430)   06/03/2016   22:52:32   UTC
                 431)   06/04/2016   13:26:19   UTC
                 432)   06/04/2016   13:26:20   UTC
                 433)   06/04/2016   15:40:41   UTC
                 434)   06/04/2016   15:40:42   UTC
                 435)   06/04/2016   17:43:35   UTC
                 436)   06/04/2016   17:43:36   UTC

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                 437)   06/04/2016   19:44:53   UTC
                 438)   06/04/2016   19:44:54   UTC
                 439)   06/05/2016   14:16:42   UTC
                 440)   06/05/2016   14:16:43   UTC
                 441)   06/05/2016   16:18:20   UTC
                 442)   06/05/2016   16:18:20   UTC
                 443)   06/05/2016   18:20:01   UTC
                 444)   06/05/2016   18:20:02   UTC
                 445)   06/05/2016   20:21:21   UTC
                 446)   06/05/2016   20:21:22   UTC
                 447)   06/06/2016   13:26:11   UTC
                 448)   06/06/2016   13:26:12   UTC
                 449)   06/06/2016   16:29:58   UTC
                 450)   06/06/2016   16:29:59   UTC
                 451)   06/06/2016   19:35:14   UTC
                 452)   06/06/2016   19:35:15   UTC
                 453)   06/06/2016   22:36:31   UTC
                 454)   06/06/2016   22:36:32   UTC
                 455)   06/07/2016   13:32:37   UTC
                 456)   06/07/2016   13:32:38   UTC
                 457)   06/07/2016   16:42:59   UTC
                 458)   06/07/2016   16:43:00   UTC
                 459)   06/07/2016   19:44:28   UTC
                 460)   06/07/2016   19:44:30   UTC
                 461)   06/07/2016   22:45:20   UTC
                 462)   06/07/2016   22:45:21   UTC
                 463)   06/08/2016   13:01:45   UTC
                 464)   06/08/2016   13:01:46   UTC
                 465)   06/08/2016   16:26:50   UTC
                 466)   06/08/2016   16:26:52   UTC
                 467)   06/08/2016   19:54:36   UTC
                 468)   06/08/2016   19:54:37   UTC
                 469)   06/08/2016   22:55:40   UTC
                 470)   06/08/2016   22:55:41   UTC
                 471)   06/09/2016   14:50:49   UTC
                 472)   06/09/2016   14:50:50   UTC
                 473)   06/09/2016   17:51:44   UTC
                 474)   06/09/2016   17:51:45   UTC
                 475)   06/09/2016   20:52:54   UTC
                 476)   06/09/2016   20:52:55   UTC
                 477)   06/09/2016   23:54:29   UTC
                 478)   06/09/2016   23:54:30   UTC
                 479)   06/10/2016   14:01:33   UTC
                 480)   06/10/2016   14:01:34   UTC
                 481)   06/10/2016   17:11:14   UTC
                 482)   06/10/2016   20:15:48   UTC
                 483)   06/11/2016   00:07:39   UTC

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                 484)   06/11/2016   13:43:03   UTC
                 485)   06/11/2016   15:53:41   UTC
                 486)   06/11/2016   18:31:57   UTC
                 487)   06/11/2016   20:32:10   UTC
                 488)   06/12/2016   14:59:14   UTC
                 489)   06/12/2016   17:01:57   UTC
                 490)   06/12/2016   21:08:22   UTC
                 491)   06/12/2016   21:08:23   UTC
                 492)   06/27/2016   19:24:24   UTC
                 493)   06/27/2016   19:24:25   UTC
                 494)   06/27/2016   22:25:43   UTC
                 495)   06/27/2016   22:25:44   UTC
                 496)   06/28/2016   13:39:44   UTC
                 497)   06/28/2016   13:39:45   UTC
                 498)   06/28/2016   16:40:54   UTC
                 499)   06/28/2016   16:40:55   UTC
                 500)   06/28/2016   19:42:42   UTC
                 501)   06/28/2016   19:42:43   UTC
                 502)   06/28/2016   22:45:07   UTC
                 503)   06/28/2016   22:45:08   UTC
                 504)   06/29/2016   17:20:29   UTC
                 505)   06/29/2016   17:20:30   UTC
                 506)   06/29/2016   20:22:11   UTC
                 507)   06/29/2016   20:22:12   UTC
                 508)   06/29/2016   23:49:55   UTC
                 509)   06/29/2016   23:49:56   UTC
                 510)   06/30/2016   13:34:28   UTC
                 511)   06/30/2016   13:34:29   UTC
                 512)   06/30/2016   17:10:31   UTC
                 513)   06/30/2016   17:10:32   UTC
                 514)   06/30/2016   20:11:49   UTC
                 515)   06/30/2016   20:11:50   UTC
                 516)   06/30/2016   23:54:18   UTC
                 517)   06/30/2016   23:54:19   UTC
                 518)   07/01/2016   13:47:35   UTC
                 519)   07/01/2016   13:47:36   UTC
                 520)   07/01/2016   16:51:05   UTC
                 521)   07/01/2016   16:51:06   UTC
                 522)   07/01/2016   19:57:03   UTC
                 523)   07/01/2016   19:57:04   UTC
                 524)   07/01/2016   23:55:48   UTC
                 525)   07/01/2016   23:55:49   UTC
                 526)   07/02/2016   13:34:57   UTC
                 527)   07/02/2016   13:34:58   UTC
                 528)   07/02/2016   15:54:49   UTC
                 529)   07/02/2016   15:54:50   UTC
                 530)   07/02/2016   19:45:21   UTC

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Case 8:17-cv-02206-EAK-JSS Document 1 Filed 09/25/17 Page 17 of 28 PageID 17



                 531)   07/02/2016   19:45:22   UTC
                 532)   07/02/2016   21:50:47   UTC
                 533)   07/02/2016   21:50:48   UTC
                 534)   07/03/2016   15:01:38   UTC
                 535)   07/03/2016   15:01:39   UTC
                 536)   07/03/2016   17:38:06   UTC
                 537)   07/03/2016   17:38:07   UTC
                 538)   07/03/2016   19:39:33   UTC
                 539)   07/03/2016   19:39:34   UTC
                 540)   07/03/2016   21:40:40   UTC
                 541)   07/03/2016   21:40:41   UTC
                 542)   07/04/2016   14:19:45   UTC
                 543)   07/04/2016   14:19:46   UTC
                 544)   07/04/2016   16:29:20   UTC
                 545)   07/04/2016   16:29:21   UTC
                 546)   07/04/2016   19:27:50   UTC
                 547)   07/04/2016   19:27:51   UTC
                 548)   07/04/2016   21:28:36   UTC
                 549)   07/04/2016   21:28:37   UTC
                 550)   07/05/2016   13:22:09   UTC
                 551)   07/05/2016   13:22:10   UTC
                 552)   07/05/2016   16:32:48   UTC
                 553)   07/05/2016   16:32:49   UTC
                 554)   07/05/2016   19:44:51   UTC
                 555)   07/05/2016   19:44:52   UTC
                 556)   07/05/2016   22:45:55   UTC
                 557)   07/05/2016   22:45:56   UTC
                 558)   07/06/2016   13:35:04   UTC
                 559)   07/06/2016   13:35:05   UTC
                 560)   07/06/2016   16:46:35   UTC
                 561)   07/06/2016   16:46:36   UTC
                 562)   07/06/2016   19:49:20   UTC
                 563)   07/06/2016   19:49:21   UTC
                 564)   07/07/2016   00:45:50   UTC
                 565)   07/07/2016   00:45:51   UTC
                 566)   07/07/2016   13:01:22   UTC
                 567)   07/07/2016   13:01:23   UTC
                 568)   07/07/2016   16:20:05   UTC
                 569)   07/07/2016   16:20:06   UTC
                 570)   07/07/2016   19:26:32   UTC
                 571)   07/07/2016   19:26:33   UTC
                 572)   07/07/2016   22:31:05   UTC
                 573)   07/07/2016   22:31:06   UTC
                 574)   07/08/2016   13:23:56   UTC
                 575)   07/08/2016   13:23:57   UTC
                 576)   07/08/2016   16:29:48   UTC
                 577)   07/08/2016   16:29:49   UTC

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                 578)   07/08/2016   19:38:09   UTC
                 579)   07/08/2016   19:38:10   UTC
                 580)   07/08/2016   22:41:56   UTC
                 581)   07/08/2016   22:41:57   UTC
                 582)   07/09/2016   16:50:21   UTC
                 583)   07/09/2016   16:50:22   UTC
                 584)   07/09/2016   20:56:41   UTC
                 585)   07/09/2016   20:56:42   UTC
                 586)   07/09/2016   23:56:20   UTC
                 587)   07/09/2016   23:56:21   UTC
                 588)   07/10/2016   15:54:46   UTC
                 589)   07/10/2016   15:54:47   UTC
                 590)   07/10/2016   18:31:29   UTC
                 591)   07/10/2016   18:31:30   UTC
                 592)   07/10/2016   20:32:35   UTC
                 593)   07/10/2016   20:32:36   UTC
                 594)   07/10/2016   22:33:24   UTC
                 595)   07/10/2016   22:33:25   UTC
                 596)   08/01/2016   21:23:25   UTC
                 597)   08/01/2016   21:23:26   UTC
                 598)   08/02/2016   12:27:48   UTC
                 599)   08/02/2016   12:27:49   UTC
                 600)   08/02/2016   16:58:25   UTC
                 601)   08/03/2016   12:23:10   UTC
                 602)   08/03/2016   12:23:11   UTC
                 603)   08/03/2016   17:05:23   UTC
                 604)   08/03/2016   17:05:24   UTC
                 605)   08/03/2016   22:28:10   UTC
                 606)   08/03/2016   22:28:11   UTC
                 607)   08/04/2016   12:16:31   UTC
                 608)   08/04/2016   12:16:32   UTC
                 609)   08/04/2016   16:50:47   UTC
                 610)   08/04/2016   16:50:48   UTC
                 611)   08/04/2016   21:32:05   UTC
                 612)   08/04/2016   21:32:06   UTC
                 613)   08/05/2016   12:07:49   UTC
                 614)   08/05/2016   12:07:50   UTC
                 615)   08/05/2016   16:39:08   UTC
                 616)   08/05/2016   16:39:09   UTC
                 617)   08/05/2016   21:21:49   UTC
                 618)   08/05/2016   21:21:50   UTC
                 619)   08/06/2016   12:21:48   UTC
                 620)   08/06/2016   12:21:49   UTC
                 621)   08/06/2016   14:24:28   UTC
                 622)   08/06/2016   14:24:29   UTC
                 623)   08/06/2016   16:54:00   UTC
                 624)   08/06/2016   16:54:01   UTC

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                 625)   08/07/2016   13:09:43   UTC
                 626)   08/07/2016   13:09:44   UTC
                 627)   08/07/2016   16:28:53   UTC
                 628)   08/07/2016   16:28:54   UTC
                 629)   08/07/2016   19:32:44   UTC
                 630)   08/07/2016   19:32:45   UTC
                 631)   09/19/2016   12:15:26   UTC
                 632)   09/19/2016   12:15:27   UTC
                 633)   09/19/2016   16:42:47   UTC
                 634)   09/19/2016   16:42:48   UTC
                 635)   09/20/2016   17:08:45   UTC
                 636)   09/20/2016   17:08:46   UTC
                 637)   09/21/2016   12:51:06   UTC
                 638)   09/21/2016   12:51:07   UTC
                 639)   09/22/2016   12:54:48   UTC
                 640)   09/22/2016   12:54:49   UTC
                 641)   09/22/2016   19:55:19   UTC
                 642)   09/22/2016   19:55:20   UTC
                 643)   09/23/2016   00:17:53   UTC
                 644)   09/23/2016   00:17:54   UTC
                 645)   09/23/2016   12:52:50   UTC
                 646)   09/23/2016   12:52:51   UTC
                 647)   09/23/2016   17:18:03   UTC
                 648)   09/23/2016   17:18:04   UTC
                 649)   09/23/2016   22:52:51   UTC
                 650)   09/23/2016   22:52:52   UTC
                 651)   09/24/2016   12:55:29   UTC
                 652)   09/24/2016   12:55:30   UTC
                 653)   09/24/2016   20:59:47   UTC
                 654)   09/24/2016   20:59:48   UTC
                 655)   09/25/2016   17:25:49   UTC
                 656)   09/25/2016   17:25:51   UTC
                 657)   09/25/2016   22:19:41   UTC
                 658)   09/25/2016   22:19:43   UTC
                 659)   09/26/2016   14:06:51   UTC
                 660)   09/26/2016   14:06:52   UTC
                 661)   09/26/2016   19:58:36   UTC
                 662)   09/26/2016   19:58:37   UTC
                 663)   09/26/2016   22:59:38   UTC
                 664)   09/26/2016   23:19:28   UTC
                 665)   09/26/2016   23:19:29   UTC
                 666)   09/27/2016   12:30:18   UTC
                 667)   09/27/2016   12:30:19   UTC
                 668)   09/27/2016   15:58:43   UTC
                 669)   09/27/2016   15:58:44   UTC
                 670)   09/27/2016   18:59:27   UTC
                 671)   09/27/2016   18:59:28   UTC

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                 672)   09/28/2016   12:56:25   UTC
                 673)   09/28/2016   12:56:26   UTC
                 674)   09/28/2016   18:55:35   UTC
                 675)   09/28/2016   18:55:36   UTC
                 676)   09/28/2016   22:57:52   UTC
                 677)   09/28/2016   22:57:53   UTC
                 678)   09/29/2016   12:37:03   UTC
                 679)   09/29/2016   12:37:04   UTC
                 680)   09/29/2016   17:54:12   UTC
                 681)   09/29/2016   17:54:13   UTC
                 682)   09/29/2016   21:03:06   UTC
                 683)   09/30/2016   12:06:12   UTC
                 684)   09/30/2016   12:06:13   UTC
                 685)   09/30/2016   15:08:48   UTC
                 686)   09/30/2016   15:08:49   UTC
                 687)   09/30/2016   18:17:50   UTC
                 688)   09/30/2016   18:17:51   UTC
                 689)   10/01/2016   14:50:12   UTC
                 690)   10/01/2016   14:50:13   UTC
                 691)   10/01/2016   22:30:09   UTC
                 692)   10/01/2016   22:30:11   UTC
                 693)   10/02/2016   16:19:13   UTC
                 694)   10/02/2016   16:19:14   UTC
                 695)   10/02/2016   21:19:53   UTC
                 696)   10/02/2016   21:19:54   UTC
                 697)   10/17/2016   12:52:48   UTC
                 698)   10/17/2016   12:52:50   UTC
                 699)   10/17/2016   17:23:11   UTC
                 700)   10/17/2016   17:23:12   UTC
                 701)   10/17/2016   21:50:05   UTC
                 702)   10/17/2016   21:50:06   UTC
                 703)   10/18/2016   12:41:28   UTC
                 704)   10/18/2016   12:41:30   UTC
                 705)   10/18/2016   17:08:39   UTC
                 706)   10/18/2016   17:08:41   UTC
                 707)   10/18/2016   21:15:23   UTC
                 708)   10/18/2016   21:15:24   UTC
                 709)   10/19/2016   00:34:10   UTC
                 710)   10/19/2016   00:34:11   UTC
                 711)   10/19/2016   12:50:31   UTC
                 712)   10/19/2016   12:50:32   UTC
                 713)   10/19/2016   17:02:57   UTC
                 714)   10/19/2016   17:02:58   UTC
                 715)   10/19/2016   22:19:57   UTC
                 716)   10/19/2016   22:19:58   UTC
                 717)   10/20/2016   12:24:38   UTC
                 718)   10/20/2016   12:24:38   UTC

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                 719)   10/20/2016   15:51:10   UTC
                 720)   10/20/2016   15:51:11   UTC
                 721)   10/20/2016   19:12:03   UTC
                 722)   10/20/2016   19:12:03   UTC
                 723)   10/21/2016   12:22:47   UTC
                 724)   10/21/2016   12:22:48   UTC
                 725)   10/21/2016   15:29:12   UTC
                 726)   10/21/2016   15:29:13   UTC
                 727)   10/21/2016   18:44:23   UTC
                 728)   10/21/2016   18:44:24   UTC
                 729)   10/21/2016   22:16:21   UTC
                 730)   10/22/2016   12:57:33   UTC
                 731)   10/22/2016   12:57:34   UTC
                 732)   10/22/2016   15:58:51   UTC
                 733)   10/22/2016   15:58:52   UTC
                 734)   10/22/2016   20:02:33   UTC
                 735)   10/22/2016   20:02:33   UTC
                 736)   10/22/2016   22:12:15   UTC
                 737)   10/22/2016   22:12:16   UTC
                 738)   10/23/2016   13:01:10   UTC
                 739)   10/23/2016   13:01:11   UTC
                 740)   10/23/2016   16:04:14   UTC
                 741)   10/23/2016   16:04:15   UTC
                 742)   10/23/2016   20:32:31   UTC
                 743)   10/23/2016   20:32:32   UTC
                 744)   10/23/2016   23:34:47   UTC
                 745)   10/23/2016   23:34:48   UTC
                 746)   10/24/2016   12:06:09   UTC
                 747)   10/24/2016   12:06:10   UTC
                 748)   10/24/2016   15:12:47   UTC
                 749)   10/24/2016   15:12:48   UTC
                 750)   10/24/2016   18:20:05   UTC
                 751)   10/24/2016   18:20:06   UTC
                 752)   10/24/2016   21:30:11   UTC
                 753)   10/25/2016   12:26:10   UTC
                 754)   10/25/2016   12:26:11   UTC
                 755)   10/25/2016   15:43:00   UTC
                 756)   10/25/2016   15:43:01   UTC
                 757)   10/25/2016   19:41:00   UTC
                 758)   10/25/2016   19:41:01   UTC
                 759)   10/25/2016   22:42:09   UTC
                 760)   10/25/2016   22:42:10   UTC
                 761)   10/26/2016   12:36:53   UTC
                 762)   10/26/2016   12:36:54   UTC
                 763)   10/26/2016   17:00:18   UTC
                 764)   10/26/2016   17:00:19   UTC
                 765)   10/26/2016   21:01:36   UTC

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                     766)   10/26/2016     21:01:37      UTC
                     767)   10/27/2016     00:04:01      UTC
                     768)   10/27/2016     00:04:02      UTC
                     769)   10/27/2016     12:36:52      UTC
                     770)   10/27/2016     12:36:53      UTC
                     771)   10/27/2016     17:30:45      UTC
                     772)   10/27/2016     17:30:46      UTC
                     773)   10/27/2016     22:30:57      UTC
                     774)   10/27/2016     22:30:58      UTC
                     775)   10/28/2016     12:14:26      UTC
                     776)   10/28/2016     12:14:27      UTC
                     777)   10/28/2016     15:24:46      UTC
                     778)   10/28/2016     15:24:47      UTC
                     779)   10/28/2016     18:25:43      UTC
                     780)   10/28/2016     21:36:45      UTC
                     781)   10/28/2016     21:36:46      UTC
                     782)   10/29/2016     12:40:27      UTC
                     783)   10/29/2016     12:40:28      UTC
                     784)   10/29/2016     19:41:37      UTC
                     785)   10/29/2016     19:41:38      UTC
                     786)   10/29/2016     21:48:34      UTC
                     787)   10/29/2016     21:48:35      UTC
                     788)   10/30/2016     13:24:40      UTC
                     789)   10/30/2016     13:24:41      UTC
                     790)   10/30/2016     16:26:00      UTC
                     791)   10/30/2016     16:26:01      UTC
                     792)   10/30/2016     20:35:43      UTC
                     793)   10/30/2016     20:35:44      UTC
                     794)   10/30/2016     23:37:30      UTC
                     795)   10/30/2016     23:37:31      UTC
                     796)   11/14/2016     13:37:54      UTC
                     797)   11/14/2016     13:37:55      UTC
                     798)   11/14/2016     18:27:05      UTC
                     799)   11/14/2016     18:27:06      UTC
                     800)   11/14/2016     22:29:43      UTC
                     801)   11/14/2016     22:29:44      UTC
                     802)   11/15/2016     01:54:50      UTC
                     803)   11/15/2016     01:54:51      UTC
                     804)   11/15/2016     13:33:48      UTC


       31.    Defendant made the immediately-aforementioned calls in an attempt to collect the

Debt directly from Plaintiff and from telephone number (859) 309-5126.




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       32.     On each of the immediately-aforementioned calls, Defendant made the calls using

an ATDS, a PTDS, or an APV,

       33.     During one or more of the aforementioned calls, Plaintiff spoke with Defendant’s

employee or representative and requested that Defendant stop calling Plaintiff’s Cellular

Telephone.

       34.     Plaintiff retained Leavengood, Dauval, Boyle & Meyer, P.A., d/b/a LeavenLaw

(hereinafter, “Undersigned Counsel”) for the purpose of pursuing this matter against Defendant,

and Plaintiff is obligated to pay his attorneys a reasonable fee for their services.

       35.     Plaintiff has not been able, due to personal commitments, as well as the continued

and increasing stress associated with the continued barrage of Debt collection calls, to record the

specifics (as done above) of each and every call made to Plaintiff. Plaintiff asserts, however, that

the above-referenced calls are but a sub-set of the calls made in violation of the FCCPA and the

TCPA. Further, Defendant is in the best position to determine and ascertain the number and

methodology of calls made to Plaintiff.

       36.     As a direct result of Defendant’s actions, Plaintiff suffered emotional distress,

anxiety, inconvenience, frustration, annoyance, fear, confusion, and loss of sleep, believing that

his requests that Defendant stop the auto-dialed debt collection calls were wholly ineffective, and

that Plaintiff simply must endure Defendant’s frequent and repeated debt collection attempts.

       37.     Florida Statutes, Section 559.77 provides for the award of $1,000.00 statutory

damages, actual damages, punitive damages, and an award of attorneys’ fees and costs to Plaintiff,

should Plaintiff prevail in this matter against Defendant.

       38.     United States Code, Title 47, Section 227(b)(3) provides for the award of $500.00

or actual damages, whichever is greater, for each telephone call made using any automatic



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telephone dialing system or an artificial or pre-recorded voice to Plaintiff’s Cellular Telephones in

violation of the TCPA or the regulations proscribed thereunder.

       39.     Additionally, the TCPA, Section 227(b)(3) allows the trial court to increase the

damages up to three times, or $1,500.00, for each telephone call made using any automatic

telephone dialing system or an artificial or prerecorded voice to Plaintiff’s Cellular Telephones in

willful or knowing violation of the TCPA or the regulations proscribed thereunder.

       40.     As of the date of this complaint, no final judgment regarding the Debt has been

obtained by, or transferred to, Defendant.

                                COUNT ONE:
                   UNLAWFUL DEBT COLLECTION PRACTICE –
               VIOLATION OF FLORIDA STATUTES, SECTION 559.72(7)

       Plaintiff re-alleges paragraphs one (1) through forty (40) as if fully restated herein and

further state as follows:

       41.     Defendant is subject to, and violated the provisions of, Florida Statutes, Section

559.72(7) by collecting a consumer Debt from Plaintiff through means and with such frequency

as can reasonably be expected to abuse or harass Plaintiff.

       42.     Specifically, Defendant directly called Plaintiff’s Cellular Telephone in an attempt

to collect the Debt using an ATDS, PTDS, or an APV, a minimum of 804 times during a one-year

and two-month period, often more than one call per day, without Plaintiff’s prior express consent

to auto-dial his Cellular Telephone. Such calls continued despite Plaintiff’s oral request for

Defendant to stop calling his Cellular Telephone.

       43.     Defendant’s conduct served no purpose other than to annoy, force, coerce, harass,

frighten, embarrass, and/or humiliate Plaintiff into paying the Debt.




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       44.     Defendant’s willful and flagrant violation of, inter alia, the Florida Consumer

Collections Practices Act as a means to collect a Debt, constitutes unlawful conduct and

harassment as is contemplated under Florida Statutes, Section 559.72(7).

       45.     As a direct and proximate result of Defendant’s actions, Plaintiff sustained damages

as defined by Florida Statutes, Section 559.77.

                                COUNT TWO:
                   UNLAWFUL DEBT COLLECTION PRACTICE –
               VIOLATION OF FLORIDA STATUTES, SECTION 559.72(9)

       Plaintiff re-alleges paragraphs one (1) through forty (40) as if fully restated herein and

further state as follows:

       46.     Defendant is subject to, and violated the provisions of, Florida Statutes, Section

559.72(9) by attempting to collect the Debt while asserting the existence of a legal right with the

knowledge that the right does not exist.

       47.     Defendant possessed actual knowledge of Plaintiff’s lack of prior express consent

and/or revocation of such consent to auto-dial Plaintiff’s Cellular Telephone.

       48.     Despite possessing such knowledge, Defendant repeatedly attempted to collect the

Debt directly from Plaintiff by directly calling Plaintiff’s Cellular Telephone at least 804 times.

       49.     Defendant knowingly and falsely asserted the right to collect the Debt directly from

Plaintiff using an ATDS, PTDS, or an APV. Defendant knew it did not possess such right.

       50.     As a direct and proximate result of Defendant’s actions, Plaintiff sustained damages

as defined by Florida Statutes, Section 559.77.

                               COUNT THREE:
                 TELEPHONE CONSUMER PROTECTION ACT –
           VIOLATION OF 47 UNITED STATES CODE, SECTION 227(b)(1)(A)

       Plaintiff re-alleges paragraphs one (1) through forty (40) as if fully restated herein and

further states as follows:

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       51.     Defendant is subject to, and violated the provisions of, 47 United States Code,

Section 227(b)(1)(A) by using an automatic telephone dialing system, a predictive telephone

dialing system, or an artificial or pre-recorded voice to call a telephone number assigned to a

cellular telephone service without Plaintiff’s prior express consent.

       52.     Defendant used an ATDS, PTDS, or an APV to call Plaintiff’s Cellular Telephone

at least 804 times in an attempt to collect the Debt.

       53.     At no time herein did Defendant possess Plaintiff’s prior express consent to call

Plaintiff’s Cellular Telephones using an ATDS, a PTDS, or an APV.

       54.     If Defendant contends it nonetheless possessed Plaintiff’s prior express consent,

Plaintiff revoked such consent the moment—and each subsequent time—that Plaintiff orally

requested Defendant stop calling his Cellular Telephone.

       55.     Additionally, if Defendant contends it made the above-referenced phone calls for

“informational purposes only,” Defendant nevertheless lacked the required prior express written

consent necessary to make such informational calls to Plaintiff’s Cellular Telephones using an

ATDS, a PTDS, or an APV.

       56.     The phone calls made by Defendant complained of herein are the result of repeated

willful and knowing violations of the TCPA.

       57.     As a direct and proximate result of Defendant’s conduct, Plaintiff has suffered:

               a.      The periodic loss of his Cellular Telephone service;

               b.      Lost material costs associated with the use of peak time Cellular Telephone

       minutes allotted under his cellular telephone service contract; and

               c.      Stress, anxiety, loss of sleep, and deterioration of relationships, both

       personal and professional, as a result of the repeated willful and knowing calls placed in

       violation of the TCPA.

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                                        PRAYER FOR RELIEF

       WHEREFORE, as a direct and proximate result of Defendant’s conduct, Plaintiff

respectfully requests against Defendant an entry of:

               a.      Judgment against Defendant declaring that Defendant violated the FCCPA

       and the TCPA;

               b.      Judgment against Defendant for maximum statutory damages for violations

       of the FCCPA;

               c.      Judgment against Defendant for statutory damages in the amount of

       $500.00 for each of Defendant’s telephone calls that violated the TCPA;

               d.      Judgment against Defendant for treble damages in the amount of an

       additional $1,000.00 for each telephone call that violated the TCPA for which Defendant

       acted knowingly or willingly—or both;

               e.      Judgment providing injunctive relief, prohibiting Defendant from further

       engaging in conduct that violates the FCCPA and the TCPA;

               f.      An award of attorneys’ fees and costs;

               g.      Actual damages in an amount to be determined at trial;

               h.      Punitive damages in an amount to be determined at trial; and

               i.      Any other such relief the Court may deem proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury on all issues triable by right.

            SPOLIATION NOTICE AND DEMAND TO RETAIN EVIDENCE

       Plaintiff hereby gives notice to Defendant and demand that Defendant and its affiliates

safeguard all relevant evidence—paper, electronic documents, or data—pertaining to this litigation

as required by law.

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                                   Respectfully submitted,
                                   LEAVENLAW

                                   /s/ G. Tyler Bannon
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